                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 NO. 7:17-CR-3-BO


UNITED STATES OF AMERICA                  :
                                          :       MOTION FOR ISSUANCE OF
                 v.                       :       PRELIMINARY ORDER OF
                                          :       FORFEITURE
ERIC CHRISTOPHER HALL                     :


        The United States of America, by and through the United States

Attorney for the Eastern District of North Carolina, requests that

the Court issue an order of forfeiture in the above criminal

action.          In support of this motion, the Government shows unto the

Court the following:

        1.       On January 12, 2017, the defendant, ERIC CHRISTOPHER

HALL,    was       charged     in   a   six-count      Criminal    Indictment,     with

violations         of   the   Controlled      Substance     Act,   specifically,     21

U.S.C.       §    841(a)(1),    and     violations     of   the    Gun   Control   Act,

specifically, 18 U.S.C. §§ 922(g)(1), 924, and 924(c)(1)(A).

     2.          On February 13, 2018, the defendant was found guilty by

Verdict of a jury as to Counts 2, 3, 4 and 6 of the Criminal

Indictment, specifically, 21 U.S.C. § 841(a)(1) and 18 U.S.C. §§

922(g)(1), 924, and 924(c)(1)(A).

     3.          By virtue of the entry of the Verdict on February 13,

2018, the United States is entitled to the defendant’s interest in

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the personal property specified in the Indictment, specifically,

$3,821.00 in United States currency.

     4.     The Court=s jurisdiction in this matter is founded upon

21 U.S.C. § 853(a), which provides that with respect to any person

convicted of a violation punishable by imprisonment for more than

one year “[t]he Court, in imposing sentence..., shall order ...that

the person forfeit to the United States all property described in

this subsection “ (emphasis supplied).

     5.     Pursuant to the guilty verdict by a jury, the Government

requests that the Court enter, as the statute requires, an order

of forfeiture regarding the subject personal property.            Under Fed.

R. Crim. P. 32.2(b)(1), “the court must determine whether the

government    has    established    the   requisite    nexus    between     the

property and the offense.”          This determination may be based on

“evidence    already   in   the    record...or,   if   the     forfeiture    is

contested, on evidence or information presented by the parties at

a hearing.”    Id.     Here, no further evidence is necessary apart

from the guilty verdict, and any information presented by the

Government at sentencing.

     6.     Upon the issuance of a preliminary order of forfeiture,

pursuant to 21 U.S.C. § 853(n), the United States shall publish

notice of this Order and of its intent to dispose of the property

in such manner as the Attorney General or the Secretary of Treasury

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directs, by publishing and sending notice in the same manner as in

civil forfeiture cases, as provided in Supplemental Rule G(4).

Any person other than the defendant, having or claiming any legal

interest in the subject property must file a petition with the

Court within 30 days of the publication of notice or of receipt of

actual notice, whichever is earlier.

     The petition must be signed by the petitioner under penalty

of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in the subject property,

and must include any additional facts supporting the petitioner’s

claim and the relief sought.

     WHEREFORE, based on the foregoing, the Court is requested to

order, pursuant to 21 U.S.C. § 853, that the subject personal

property be preliminarily forfeited to the United States, that

upon resolution of all third-party claims and entry of a final

order of forfeiture, that said subject property be disposed of in

accordance with law.




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Respectfully submitted this 14th day of June, 2018.

                         ROBERT J. HIGDON, JR.
                         United States Attorney


                         BY:  /s/ Matthew L. Fesak
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                     CERTIFICATE OF SERVICE

     This is to certify that a copy of the foregoing Motion for

Preliminary Order of Forfeiture was served upon counsel

electronically via ECF, this 14th day of June, 2018 to:

     H. P. Williams, Jr.
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                              ROBERT J. HIGDON, JR.
                              United States Attorney


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